829 F.2d 41
    In re Sungrove Investments; K.D. Macknet, M.D., Inc.Pension Plan, K.D. Macknet, M.D. Inc., Macknet(KennethD., M.D., Elaine)v.Abbott (Marianne E.), Schulz      (Eloy, Myrna), Wiesseman(George, Jeanne), Quijada     (Octavius, Aracella)v. Sungrove Investments, Simon    (William)
    NO. 86-6006
    United States Court of Appeals,Ninth Circuit.
    SEP 14, 1987
    
      1
      Appeal From:  C.D.Cal.
    
    
      2
      REVERSED IN PART, AFFIRMED IN PART AND REMANDED.
    
    